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 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                             EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                     )       No. 2:13-CR-00325-GEB
                                                   )
12                                                 )       STIPULATION AND
            Plaintiff,                             )       [PROPOSED] ORDER CONTINUING CASE
13                                                 )       AND EXCLUDING TIME
     v.                                            )
14                                                 )
     CARLOS ALFREDO OLAZABAL,                      )       Date: November 14, 2014
15                                                 )       Time: 9:00 am.
     MIGUEL FELIX LOPEZ.                           )       Judge: Honorable Garland E. Burrell, Jr.
16                                                 )
            Defendants.                            )
17                                                 )
                                                   )
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20          IT IS HEREBY stipulated between the United States of America through its undersigned
21   counsel, Samuel Wong, Assistant United States Attorney, attorney for plaintiff, together with
22   Adam Koppekin, attorney for defendant Carlos Olazabal and Kyle Knapp, attorney for
23   defendant Miguel Felix-Lopez that the previously-scheduled status conference, currently set for
24   November 14, 2014, be vacated and that the matter be set for status conference on January 23,
25   2015 at 9:00 a.m.
26          Counsel have conferred and this continuance is requested to allow defense counsel
27   additional time to finalize review of the discovery, meet again with our clients, investigate
28   possible defenses and to continue exploring the relevant sentencing guidelines that would apply


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 1   to our respective clients. Most importantly, the parameters of a plea agreement are being
 2   discussed with our respective clients and additional time is needed to finalize negotiations.
 3          IT IS FURTHER STIPULATED that the ends of justice served by the granting of such a
 4   continuance outweigh the best interests of the public and the defendants in a speedy trial and
 5   that time within which the trial of this case must be commenced under the Speedy Trial Act
 6   shall therefore be excluded under 18 U.S.C. Section 3161(h)(7) (A) and (B) (iv), corresponding
 7   to Local Code T-4 (to allow defense counsel reasonable time to prepare) from the date of the
 8   parties’ stipulation, November 13, 2014 up to and including January 23, 2015.
 9   IT IS SO STIPULATED.
10
     Dated: November 13, 2014                                     BENJAMIN B. WAGNER
11                                                                UNITED STATES ATTORNEY

12                                                        by:     /s/ Samuel Wong
                                                                  SAMUEL WONG
13
                                                                  Assistant U.S. Attorney
14                                                                Attorney for Plaintiff

15   Dated: November 13, 2014                                     /s/ Adam M. Koppekin
16
                                                                  ADAM M. KOPPEKIN
                                                                  Attorney for Defendant
17                                                                Carlos Alfredo Olazabal
18   Dated: November 13, 2014                                     /s/ Kyle R. Knapp
19
                                                                  KYLE KNAPP
                                                                  Attorney for Defendant
20                                                                MIGUEL FELIX LOPEZ
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 1
                                         [PROPOSED] ORDER
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            The Stipulation of the parties in its entirety is hereby accepted and adopted as the Court's
 3
     Order. The requested continuance is GRANTED. This matter shall be dropped from this
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     court’s November 14, 2014 criminal calendar and re-calendared for status conference on
 5
     January 23, 2015.
 6
            Based on the representations of the parties the court finds that: (1) the failure to grant
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     such a continuance in this case would deny counsel for defendants the reasonable time
 8
     necessary for effective preparation, taking into account the exercise of due diligence; and (2) the
 9
     ends of justice served by granting this continuance outweigh the best interests of the public and
10
     the defendants in a speedy trial. The Court orders that the time period from the filing of the
11
     parties' stipulation on November 13, 2014, through and including the January 23, 2015, status
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     conference shall be excluded from computation of time within which the trial of this case must
13
     be commenced under the Speedy Trial Act pursuant to 18 U.S.C. Section 3161(h)(7) (A) and
14
     (B) (iv), corresponding to Local Code T-4 (to allow defense counsel reasonable time to
15
     prepare).
16

17          IT IS SO ORDERED.
     Dated: November 13, 2014
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